
947 N.E.2d 770 (2011)
In re the ESTATE OF Robert COMPTON, Deceased (Margaret Compton, Indv., etc., respondent, v. Pneumo Abex Corporation et al., respondents).
Illinois Central Railroad Company, petitioner.
No. 111945.
Supreme Court of Illinois.
May 25, 2011.
In the exercise of this Court's supervisory authority, the Appellate Court, Fourth District, is directed to vacate its order in Compton v. Illinois Central Railroad Company, No. 4-10-1002 (01/20/11), denying leave to appeal pursuant to Supreme Court Rule 308. The court is further directed to allow leave to appeal, consolidate the appeal with Smith v. Illinois Central Railroad Company, case No. 4-10-1003 (01/20/11), and answer the certified question.
THOMAS, J., took no part.
